USCA Case #23-1064     Document #2074528        Filed: 09/13/2024   Page 1 of 63




                                    In the
          United States Court of Appeals for the
              District of Columbia Circuit
 No. 23-1064 (consolidated with 23-1074, 23-1077, 23-1129, 23-1130, 23-1137)

           NEW JERSEY CONSERVATION FOUNDATION, et al.,
                                                Petitioners,
                                      v.
            FEDERAL ENERGY REGULATORY COMMISSION,
                                                Respondent.
 On Petition for Review of Orders of the Federal Energy Regulatory Commission
  INTERVENOR TRANSCONTINENTAL GAS PIPE LINE
COMPANY, LLC’S PETITION FOR PANEL REHEARING AND
               REHEARING EN BANC
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                                      i
USCA Case #23-1064                 Document #2074528                         Filed: 09/13/2024             Page 2 of 63



                                         TABLE OF CONTENTS

                                                                                                                      Page

TABLE OF AUTHORITIES .................................................................................... ii
GLOSSARY............................................................................................................... v
STATEMENT PURSUANT TO FEDERAL RULE OF APPELLATE
    PROCEDURE 35(b) ........................................................................................ 1
BACKGROUND ....................................................................................................... 2
         I.       Statement of the Case ............................................................................ 2
         II.      The Status of the Project ....................................................................... 4
ARGUMENT ............................................................................................................. 5
         I.       The Panel’s Rulings as to FERC’s Finding of Need for the
                  Project Conflict with Circuit Precedent and Misapprehend the
                  Record.................................................................................................... 5
         II.      The Panel’s Rulings Conflict with this Court’s NEPA
                  Precedent and Misapprehend the Record ............................................ 11
                  A.       This Court’s Precedent Does Not Require FERC to
                           Label Project GHG Emissions as Significant or
                           Insignificant .............................................................................. 11
                  B.       This Court’s Precedent Does Not Require FERC to
                           Discuss Mitigation of Adverse Effects That Are Not
                           “Reasonably Foreseeable” ........................................................ 13
         III.     The Panel’s Remedy of Vacatur Conflicts with Precedent in
                  this Court and in Sister Circuits .......................................................... 14
CONCLUSION ........................................................................................................ 16




                                                             i
USCA Case #23-1064                  Document #2074528                        Filed: 09/13/2024              Page 3 of 63



                                       TABLE OF AUTHORITIES
                                                                                                                  Page(s)
Cases:
Ala. Mun. Distribs. Grp. v. FERC,
      100 F.4th 207 (D.C. Cir. 2024)......................................................................11
Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n,
       988 F.2d 146 (D.C. Cir. 1993) .......................................................................14
Black Warrior Riverkeeper, Inc. v. U.S. Army Corps of Eng’rs,
      781 F.3d 1271 (11th Cir. 2015) .....................................................................15
Cal. Cmtys. Against Toxics v. EPA,
      688 F.3d 989 (9th Cir. 2012) .........................................................................15
Certification of New Interstate Natural Gas Pipeline Facilities,
       88 FERC ¶ 61,227 (Sept. 15, 1999), clarified by 90 FERC ¶ 61,128
       (Feb. 9, 2000), further clarified by 92 FERC ¶ 61,094 (July 28,
       2000) ................................................................................................................5
City of Oberlin v. FERC,
       937 F.3d 599 (D.C. Cir. 2019) .......................................................................14
Cogeneration Ass’n of Cal. v. FERC,
     525 F.3d 1279 (D.C. Cir. 2008) ................................................................ 9, 10
Ctr. for Biological Diversity v. FERC,
       67 F.4th 1176 (D.C. Cir. 2023)......................................................................11
Dep’t of Transp. v. Pub. Citizen,
      541 U.S. 752 (2004).......................................................................................13
Eagle County v. Surface Transp. Bd.,
      82 F.4th 1152 (D.C. Cir. 2023), cert. granted sub nom. Seven
      County Infrastructure Coalition v. Eagle County, 144 S. Ct. 2680
      (2024) .............................................................................................................13
Env’t Def. Fund v. FERC,
      2 F.4th 953 (D.C. Cir. 2021)........................................................................6, 7
Fla. Mun. Power Agency v. FERC,
      315 F.3d 362 (D.C. Cir. 2003) .......................................................................10



                                                              ii
USCA Case #23-1064              Document #2074528                  Filed: 09/13/2024          Page 4 of 63


*
    Food & Water Watch v. FERC,
         104 F.4th 336 (D.C. Cir. 2024)............................................... 1, 3, 6, 7, 11, 12
*Healthy Gulf v. FERC,
     107 F.4th 1033 (D.C. Cir. 2024)..................................................... 1, 9, 12, 14
Ind. Mun. Power Agency v. FERC,
      56 F.3d 247 (D.C. Cir. 1995) .........................................................................10
Midwest ISO Transmission Owners v. FERC,
     373 F.3d 1361 (D.C. Cir. 2004) .....................................................................10
Minisink Residents for Env’t Pres. & Safety v. FERC,
      762 F.3d 97 (D.C. Cir. 2014) .......................................................................6, 7
Myersville Citizens for a Rural Cmty., Inc. v. FERC,
     783 F.3d 1301 (D.C. Cir. 2015) ............................................................ 7, 9, 10
N.J. Conservation Found. v. FERC,
      111 F.4th 42 (D.C. Cir. 2024)..........................................................................2
Nat. Res. Def. Council v. EPA,
      808 F.3d 556 (2d Cir. 2015) ..........................................................................14
Prometheus Radio Project v. FCC,
     824 F.3d 33 (3d Cir. 2016) ............................................................................14
Sierra Club v. FERC,
      867 F.3d 1357 (D.C. Cir. 2017) .....................................................................13
Sugar Cane Growers Co-op v. Veneman,
      289 F.3d 89 (D.C. Cir. 2002) .........................................................................14
Tex. Ass’n of Mfrs. v. Consumer Prod. Safety Comm’n,
      989 F.3d 368 (5th Cir. 2021) .........................................................................14
Vecinos para el Bienestar de la Comunidad Costera v. FERC,
      6 F.4th 1321 (D.C. Cir. 2021)........................................................................14
W. Watersheds Project v. Haaland,
     69 F.4th 689 (10th Cir. 2023) ........................................................................15
XO Energy Ma, LP v. FERC,
     77 F.4th 710 (D.C. Cir. 2023)........................................................................14


*
    Authorities primarily relied upon.

                                                     iii
USCA Case #23-1064                 Document #2074528                       Filed: 09/13/2024            Page 5 of 63




Statutes & Other Authorities:
15 U.S.C. § 717r(b) ....................................................................................................9
18 C.F.R. § 380.7 .....................................................................................................12
Fed. R. App. P. 35(d) .................................................................................................4
N.J.S.A. § 48:2-13(a) .................................................................................................9
N.J.S.A. § 48:2-21 ......................................................................................................9
1999 Certificate Policy Statement, Certification of New Interstate Natural
     Gas Pipeline Facilities, 88 FERC ¶ 61,227 (Sept. 15, 1999),
     clarified by 90 FERC ¶ 61,128 (Feb. 9, 2000), further clarified by
     92 FERC ¶ 61,094 (July 28, 2000) .......................................................... 5-6, 9
Application for Temporary Emergency Certificate, No. 20240906-5218,
      Transcontinental Gas Pipe Line Co., FERC Dkt. No. CP21-94
      (Sept. 6, 2024)..................................................................................................4
Transcontinental Gas Pipe Line Co.,
      182 FERC ¶ 61,006 (Jan. 11, 2023) ................................................................2
Transcontinental Gas Pipe Line Co.,
      182 FERC ¶ 61,148 (Mar. 17, 2023) ...............................................................2




                                                           iv
USCA Case #23-1064      Document #2074528        Filed: 09/13/2024   Page 6 of 63



                                  GLOSSARY

 Board                    New Jersey Board of Public Utilities

 Certificate Order        Order   Issuing    Certificate    and Approving
                          Abandonment, Transcontinental Gas Pipe Line Co.,
                          182 FERC ¶ 61,006 (Jan. 11, 2023)

 Dekatherms per day       Dth/d

 FERC                     Federal Energy Regulatory Commission

 GHG                      Greenhouse gas

 JA                       Joint Appendix

 NEPA                     National Environmental Policy Act

 NJ Agencies Study        London Econ. Int’l, Final Report: Analysis of Natural
                          Gas Capacity to Serve New Jersey Firm Customers
                          (Nov. 5, 2021), filed as an attachment to New Jersey
                          Parties’ Mot. To Intervene & Lodge, Transcontinental
                          Gas Pipe Line Co., Doc. Accession No. 20220711-
                          5186, FERC Dkt. No. CP21-94 (July 11, 2022)

 Project                  Transcontinental Gas Pipe Line Company, LLC’s
                          Regional Energy Access Expansion

 Rehearing Order          Order on Rehearing, Granting Clarification, Denying
                          Stay, and Dismissing Waiver, Transcontinental Gas
                          Pipe Line Co., 182 FERC ¶ 61,148 (Mar. 17, 2023)

 Skipping Stone Study     Skipping Stone, Capacity Sufficiency Study for
                          Proposed Regional Energy Access Expansion Project
                          (Sept. 8, 2022), filed as Exhibit A to Comments on
                          Behalf of NJCF et al. Lodging Expert Report
                          Regarding Capacity Sufficiency, Transcontinental Gas
                          Pipe Line Co., Doc. Accession No. 20220909- 5000,
                          FERC Dkt. No. CP21-94 (Sept. 9, 2022)



                                       v
USCA Case #23-1064   Document #2074528       Filed: 09/13/2024   Page 7 of 63



 Transco               Intervenor Transcontinental Gas Pipe Line Company,
                       LLC

 Transco Study         Levitan & Assocs., Regional Access Energy Expansion
                       (Apr. 20, 2022), filed as Attachment 1D to Submission
                       of Supplemental Information, Transcontinental Gas
                       Pipe Line Co., Doc. Accession No. 20220422-5150,
                       FERC Dkt. No. CP21-94 (Apr. 22, 2022)




                                   vi
USCA Case #23-1064        Document #2074528         Filed: 09/13/2024   Page 8 of 63



    STATEMENT PURSUANT TO FEDERAL RULE OF APPELLATE
                    PROCEDURE 35(b)

      The Panel decision is contrary to the following decisions of the United States

Court of Appeals for the District of Columbia Circuit:

              •     Arbitrary and capricious review of agency determinations

generally and under the National Environmental Policy Act (“NEPA”) and Natural

Gas Act: Food & Water Watch v. FERC, 104 F.4th 336, 346 (D.C. Cir. 2024).

              •     Remand without vacatur as the remedy for curable deficiencies

in agency decisionmaking: Healthy Gulf v. FERC, 107 F.4th 1033, 1047-48 (D.C.

Cir. 2024).

              •     Analysis of greenhouse gas (“GHG”) emissions under NEPA:

Food & Water Watch, 104 F.4th at 346-47.

      Consideration by the full Court is necessary to secure and maintain uniformity

of this Court’s decisions. Additionally, this proceeding presents questions of

exceptional importance:

      1.      Whether the Panel’s decision conflicts with authoritative decisions of

this Court and other federal Courts of Appeals by vacating the Federal Energy

Regulatory Commission’s (“FERC”) orders when the purported deficiencies in the

orders are “potentially consequential” and without meaningfully considering the

severe disruptive consequences of taking operational energy infrastructure offline?




                                          1
USCA Case #23-1064       Document #2074528           Filed: 09/13/2024   Page 9 of 63



      2.     Whether the Panel’s decision conflicts with authoritative decisions of

this Court in holding that NEPA requires FERC to label GHG emissions as

significant or insignificant and with Supreme Court of the United States precedent

in holding that FERC is required to discuss GHG emission mitigation?

                                 BACKGROUND1

I.    Statement of the Case

      The Court had vacated only two Certificate Orders in more than a decade prior

to the Panel’s decision here granting the petitions for review and vacating and

remanding FERC’s orders issuing a certificate of public convenience and necessity

(the “Certificate Order”)2 for Transco’s Regional Energy Access Expansion (the

“Project”) and denying requests for rehearing of the Certificate Order (the

“Rehearing Order”).3 See N.J. Conservation Found. v. FERC, 111 F.4th 42 (D.C.




1
  The Panel’s docketed opinion is included in the addendum attached to this petition,
along with a certificate of parties and amici curiae and Transcontinental Gas Pipe
Line Company, LLC’s (“Transco”) disclosure statement. See Circuit Rule 35(c).
This petition cites to pages of the docketed opinion. This petition is timely because
it is being filed within forty-five days after entry of judgment on July 30, 2024. See
Circuit Rule 40(a) (establishing forty-five-day deadline for rehearing petition when
a United States agency, like FERC, is a party).
2
 Order Issuing Certificate and Approving Abandonment, Transcontinental Gas Pipe
Line Co., 182 FERC ¶ 61,006 (Jan. 11, 2023).
3
 Order on Rehearing, Granting Clarification, Denying Stay, and Dismissing Waiver,
Transcontinental Gas Pipe Line Co., 182 FERC ¶ 61,148 (March 17, 2023).


                                          2
USCA Case #23-1064      Document #2074528            Filed: 09/13/2024    Page 10 of 63



Cir. 2024) (the “Opinion”).4 The issues raised in the appeals of the Certificate and

Rehearing Orders were not novel and focused on whether there was a need for the

Project, which is operating and fully subscribed primarily by state-regulated gas

utilities, and whether FERC was required to determine whether the GHG emissions

from the Project, which FERC had quantified, and the associated climate-related

costs were significant. The Panel’s treatment of those issues and the application of

the vacatur remedy are unprecedented, particularly when compared with Food &

Water Watch, 104 F.4th at 348, released one month prior to the Opinion.

      In Food & Water Watch, after applying the arbitrary and capricious standard

of review and this Court’s precedent, the challenge to the need for that project, which

was fully subscribed by a state-regulated utility, and the argument that FERC was

required to label that project’s GHG emissions and “monetary estimates of climate-

related costs” as significant or insignificant were denied. Id. at 346-47. Here, the

challenge to the need for the Project, which is fully subscribed primarily by state-

regulated utilities, and the argument that FERC was required to label the Project’s

GHG emissions and climate-related costs as significant or insignificant, resulted in

remand and vacatur, which suggests that new standards and tests will be applied to




4
  Two judges from the Panel also vacated and remanded the next FERC case
considered by the Court and rehearing petitions in that case will be due October 21,
2024. City of Port Isabel v. FERC, No. 23-1175 (D.C. Cir. 2024).


                                          3
USCA Case #23-1064        Document #2074528          Filed: 09/13/2024    Page 11 of 63



these issues going forward. Transco respectfully requests that the Court vacate the

Panel’s judgment and grant panel rehearing or rehearing en banc. See Circuit Rule

35(d).

II.      The Status of the Project

         This appeal focused primarily on the new capacity integrated into the Transco

system through the Project. The Project began operating with interim partial service

in October 2023 and is now at full operational capacity, allowing additional firm

transportation of 829,400 dekatherms per day (“Dth/d”) for the shippers who signed

contracts for new service. As part of the Project, Transco also replaced, modified,

and upgraded existing facilities on its pipeline system that are integral to its ability

to provide 1,235,000 Dth/d of firm capacity for the benefit of its existing system

customers whose contracts and related firm transportation service pre-dated the

Project. See Application for Temporary Emergency Certificate, No. 20240906-5218,

Transcontinental Gas Pipe Line Co., FERC Dkt. No. CP21-94 (Sept. 6, 2024) at 6-

8. The Project facilities function as a fully integrated cog in the greater Transco

system, such that a loss of the Project facilities would necessarily cause an outage to

the full 2,064,400 Dth/d of firm capacity that these facilities support. Id. at 20. The

removal from service of the Project facilities would have devastating consequences

for families, businesses, and communities along the eastern seaboard of the United

States this winter, with particularly severe repercussions in New Jersey, New York,



                                           4
USCA Case #23-1064       Document #2074528           Filed: 09/13/2024    Page 12 of 63



Pennsylvania, Maryland, and Delaware. Id. at 22. While Transco seeks a Temporary

Emergency Certificate as an interim measure, there is no guarantee it will be issued

in time to prevent widespread impacts to the Mid-Atlantic and Northeast. The impact

of the loss of the Project’s facilities on Transco’s system is illustrated below. Id. at

19.




                                    ARGUMENT

I.    The Panel’s Rulings as to FERC’s Finding of Need for the Project
      Conflict with Circuit Precedent and Misapprehend the Record

      FERC’s determination of need for the Project under the 1999 Certificate

Policy Statement, Certification of New Interstate Natural Gas Pipeline Facilities,

88 FERC ¶ 61,227 (Sept. 15, 1999), clarified by 90 FERC ¶ 61,128 (Feb. 9, 2000),


                                           5
USCA Case #23-1064     Document #2074528          Filed: 09/13/2024   Page 13 of 63



further clarified by 92 FERC ¶ 61,094 (July 28, 2000), is “subject to deferential

review for arbitrariness,” Food & Water Watch, 104 F.4th at 347 (citing Minisink

Residents for Env’t Pres. & Safety v. FERC, 762 F.3d 97, 105–06 (D.C. Cir. 2014))

and followed decades of precedent in this and other courts. FERC spent forty-two

paragraphs of the Rehearing Order addressing Petitioners’ contentions that FERC’s

need analysis was deficient. Rehearing Order ¶¶ 29-71, JA810-32. But rather than

defer to FERC’s findings, the Panel ordered remand and vacatur.

      The Panel relied primarily on Environmental Defense Fund v. FERC, 2 F.4th

953, 973 (D.C. Cir. 2021) in finding a deficient analysis of need and ordering

vacatur. That case, however, was

      a situation in which the proposed pipeline was not meant to serve any
      new load demand, there was no Commission finding that a new pipeline
      would reduce costs, the application was supported by only a single
      precedent agreement, and the one shipper who was party to the
      precedent agreement was a corporate affiliate of the applicant who was
      proposing to build the new pipeline.

Id. The two situations could not be more different—the record here is replete with

evidence of competitive open seasons and multiple precedent agreements with

unaffiliated companies, as well as new load demand, the need for reliability and

supply diversity as expressed by the shippers, and market study support for the

Project from the only market study that specifically considered the Project. See

Rehearing Order ¶¶ 5, 20, JA795, JA805; Certificate Order ¶¶ 21-35, JA550-59.




                                        6
USCA Case #23-1064        Document #2074528          Filed: 09/13/2024    Page 14 of 63



      Further, despite the lack of any of the factors that led to remand and vacatur

on the issue of need in Environmental Defense Fund, the Panel held that even though

the Project had been in at least partial service for months and was serving multiple

shippers, and with no consideration of the significant number of abandoned facilities

which had altered Transco’s system, “the disruption vacatur would cause to the

pipeline’s operations is significantly outweighed by the core deficiencies in FERC’s

orders.” Opinion at 32-33.

      The Panel’s finding that precedent agreements with non-affiliated state-

regulated utilities for the Project are not sufficient evidence of market need conflicts

with this Court’s repeated holdings that “such contracts—especially between

unaffiliated entities—are ‘good evidence’ of such demand.” Food & Water Watch,

104 F.4th at 347; see also Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783

F.3d 1301, 1311 (D.C. Cir. 2015); Minisink Residents for Env’t Pres. and Safety,

762 F.3d at 111, n. 10.

      As in Food & Water Watch, FERC also relied on “much more than just the

contract” with the shippers in analyzing need. 104 F.4th at 347. FERC examined

New Jersey’s Clean Energy Act, and as with the New York act at issue in Food &

Water Watch, “reasonably explained why the statute did not undercut its finding of

need” particularly because it “does not prescribe any particular way of achieving the

required reductions.” Id. at 348. See Rehearing Order ¶¶ 26, 70, JA808-09, JA831-



                                           7
USCA Case #23-1064      Document #2074528           Filed: 09/13/2024    Page 15 of 63



32; see also Certificate Order ¶¶ 31, 34, JA556-58. In New Jersey, the method for

achieving the target reductions required by its Act will be determined on a case-by-

case basis by the New Jersey Board of Public Utilities (the “Board”) after

applications to be made by the state-regulated utilities. See Motion for Clarification

of the Board under CP21-94 at 1-2, JA763-64.

      FERC also examined three market studies in detail, including the Transco

Study,5 which FERC concluded “is the more persuasive market study in the record

and most closely aligns with [FERC’s] market analysis.” Rehearing Order ¶ 41,

JA817. FERC also considered the NJ Agencies Study,6 which it concluded had

deficiencies (Certificate Order ¶¶ 27, 31, JA553-54, JA557; Rehearing Order ¶¶ 37,

41, JA814, JA816-17) and the Skipping Stone Study,7 which also had deficiencies

(Certificate Order ¶¶ 33, 45, 48, JA558, 564-65). Additionally, FERC examined the



5
 Levitan & Assocs., Regional Access Energy Expansion (Apr. 20, 2022), filed as
Attachment 1D to Transco Submission of Supplemental Information,
Transcontinental Gas Pipe Line Co., Doc. Accession No. 20220422-5150, FERC
Dkt. No. CP21-94 (Apr. 22, 2022).
6
 London Econ. Int’l, Final Report: Analysis of Natural Gas Capacity to Serve New
Jersey Firm Customers (Nov. 5, 2021), filed as an attachment to New Jersey Parties’
Mot. To Intervene & Lodge, Transcontinental Gas Pipe Line Co., Doc. Accession
No. 20220711-5186, FERC Dkt. No. CP21-94 (July 11, 2022).
7
 Skipping Stone, Capacity Sufficiency Study for Proposed Regional Energy Access
Expansion Project (Sept. 8, 2022), filed as Exhibit A to Comments on Behalf of
NJCF et al. Lodging Expert Report Regarding Capacity Sufficiency,
Transcontinental Gas Pipe Line Co., Doc. Accession No. 20220909- 5000, FERC
Dkt. No. CP21-94 (Sept. 9, 2022).


                                          8
USCA Case #23-1064      Document #2074528            Filed: 09/13/2024    Page 16 of 63



supportive statements of the shippers and relied on a condition imposed in the

Certificate Order that the new shippers execute service agreements prior to the start

of construction, which occurred. Certificate Order ¶¶ 21, JA550, Ordering Paragraph

E, JA586; Rehearing Order ¶ 59, JA825-26. Finally, while the Panel claims FERC’s

analysis was flawed because it did not address subsidization by “existing

customers,” Opinion at 25, FERC clearly did address that concern. Because of the

significant upgrade of equipment for existing shippers, FERC allocated a portion of

the wholesale rates of the Project to existing customers. Certificate Order ¶ 20,

JA549.8

      This Court “will affirm [FERC’s] orders so long as FERC ‘examine[d] the

relevant data and articulate[d] a . . . rational connection between the facts found and

the choice made.’” Cogeneration Ass’n of Cal. v. FERC, 525 F.3d 1279, 1283 (D.C.




8
 The Panel also referenced an argument that the ratepayers in New Jersey, customers
of the shippers, are “existing customers” under the 1999 Certificate Policy
Statement, 88 FERC ¶ 61,749, but that provision does not apply to ratepayers and
that argument was not raised on rehearing and cannot be considered by the Court.
See Myersville Citizens for a Rural Cmty., 783 F.3d at 1309 (discussing requirement
that projects not be subsidized by “existing customers” of the applicant); 15 U.S.C.
§ 717r(b) (providing that no objection may be raised before the court that was not
raised on rehearing before FERC); Healthy Gulf, 107 F.4th at 1040, n.2 (rejecting
consideration of arguments petitioners failed to raise below for lack of jurisdiction).
Further, under New Jersey law, it is the Board—not FERC—that will decide if New
Jersey ratepayers bear any of the cost of the Project after a prudency review. Motion
for Clarification of the Board under CP21-94 at 1, JA763 (quoting N.J.S.A. §§ 48:2-
13(a), 48:2-21).


                                          9
USCA Case #23-1064      Document #2074528          Filed: 09/13/2024    Page 17 of 63



Cir. 2008) (quoting Midwest ISO Transmission Owners v. FERC, 373 F.3d 1361,

1368 (D.C. Cir. 2004)). “Where the evidence might support more than one rational

interpretation, ‘the question we must answer . . . is not whether record evidence

supports [the petitioner’s] version of events, but whether it supports FERC’s.’” Id.

(quoting Fla. Mun. Power Agency v. FERC, 315 F.3d 362, 368 (D.C. Cir. 2003));

see also Ind. Mun. Power Agency v. FERC, 56 F.3d 247, 255 (D.C. Cir. 1995)

(FERC’s choice regarding reliability of evidence and determination to afford more

weight to one study over another is “precisely the kind of exercise of discretion to

which [courts] defer”); Myersville Citizens for a Rural Cmty., 783 F.3d at 1313-14

(similar).

      The Court’s criticism of FERC’s exhaustive analysis of the evidence of need

in the record, and its apparent belief that more evidence is required than precedent

agreements or service agreements with unaffiliated third parties, and especially with

state-regulated utilities, suggests a significant departure from decades of prior

precedent in this Court. The Opinion creates uncertainty which will affect all

applications for Certificate Orders at FERC going forward regarding the evidence

needed now to satisfy the standards set forth and previously applied at FERC and

upheld by this Court under the 1999 Certificate Policy Statement.




                                         10
USCA Case #23-1064     Document #2074528          Filed: 09/13/2024   Page 18 of 63



II.   The Panel’s Rulings Conflict with this Court’s NEPA Precedent and
      Misapprehend the Record

      A.    This Court’s Precedent Does Not Require FERC to Label Project
            GHG Emissions as Significant or Insignificant

      The Panel’s requirement that FERC explain why it did not label the Project’s

GHG emissions significant or insignificant contradicts Food & Water Watch. NEPA

does not require FERC to “label” emissions as significant or insignificant (“NEPA

contains no such mandate”); NEPA requires only a “discussion” of the significance

of GHG emissions. 104 F.4th at 346. In Food & Water Watch, this Court held that

FERC’s discussion of GHG emissions’ significance complied with NEPA where

FERC disclosed the estimated amount of reasonably foreseeable increased

emissions, compared them to state and national emissions, and calculated the social

costs of carbon. See id. at 346-47; cf. Ala. Mun. Distribs. Grp. v. FERC, 100 F.4th

207, 214 (D.C. Cir. 2024) (holding FERC’s quantifying GHG emissions,

comparative analysis, and discussion of overall impact was sufficient); Ctr. for

Biological Diversity v. FERC, 67 F.4th 1176, 1184 (D.C. Cir. 2023) (holding

FERC’s quantification and comparative analysis of emissions was sufficient). FERC

did each of those things here, yet the Panel held its actions were not enough. See

Environmental Impact Statement, JA492-99; Certificate Order ¶¶ 67-74, JA576-80;

Rehearing Order ¶¶ 104-07, 114, JA854-59.




                                        11
USCA Case #23-1064      Document #2074528            Filed: 09/13/2024    Page 19 of 63



      The Panel so held because FERC previously made a significance

determination in a different proceeding based on a since-withdrawn policy statement

that established a presumption of significance at a certain emissions threshold.

Opinion at 14. But Food & Water Watch rejected that very same argument, ruling

that FERC did not have to make a significance determination based on the

withdrawn policy statement (or otherwise). 104 F.4th at 347.

      The Panel then relies on Healthy Gulf v. FERC to require that FERC make a

significance determination. Opinion at 15. Healthy Gulf distinguished Food & Water

Watch by noting that FERC did not dispute that it had to make a significance

determination in the orders on review in Healthy Gulf. 107 F.4th at 1040, n.2. The

reasoning in Healthy Gulf does not apply here because FERC has consistently

disputed Petitioners’ contention that it is required to make a significance

determination. Certificate Order ¶¶ 73-74 n. 174, JA580; Rehearing Order ¶¶ 104-

07, JA854-55.9 The Panel should have applied the reasoning in Food & Water Watch

to hold that FERC was not required to make a significance determination.




9
 Further, while the Panel notes that Food & Water Watch did not address whether
18 C.F.R. § 380.7 requires FERC to make a significance determination because the
petitioners there did not raise that argument, Petitioners here also did not raise that
argument, so this case cannot be distinguished from Food & Water Watch on that
basis. Opinion at 15, n.2.


                                          12
USCA Case #23-1064      Document #2074528            Filed: 09/13/2024   Page 20 of 63



      B.     This Court’s Precedent Does Not Require FERC to Discuss
             Mitigation of Adverse Effects That Are Not “Reasonably
             Foreseeable”

      The Panel cites Sierra Club v. FERC, 867 F.3d 1357 (D.C. Cir. 2017) as

purportedly requiring that FERC discuss mitigation of GHG emissions generally,

but it does not. Sierra Club required analysis of specific downstream GHG emissions

that were “reasonably foreseeable” because the pipeline was transporting natural gas

for combustion at specific power plants. Id. at 1371-72. Here, the Panel held that

FERC should have analyzed mitigation of GHG emissions divorced from such

emissions’ foreseeability or FERC’s authority to regulate them. That ruling

contravenes Circuit and Supreme Court precedent holding that agencies should not

consider effects beyond their statutory authority, such as the downstream emissions

at issue here, which are not regulated by FERC. See Dep’t of Transp. v. Pub. Citizen,

541 U.S. 752, 767, 770 (2004). The Panel’s error is magnified by the Supreme

Court’s decision to grant certiorari in Eagle County v. Surface Transportation

Board, 82 F.4th 1152, 1179 (D.C. Cir. 2023), cert. granted sub nom. Seven County

Infrastructure Coalition v. Eagle County, 144 S. Ct. 2680 (2024) (mem.). As in the

Panel’s ruling, the Eagle County Court ruled that NEPA requires an agency to study

impacts over which the agency has no regulatory authority. 82 F.4th at 1180. The

Supreme Court’s decision to grant certiorari reflects the divergence of rulings on that

issue which has emerged in the federal appellate courts following Public Citizen.



                                          13
USCA Case #23-1064      Document #2074528           Filed: 09/13/2024    Page 21 of 63



This Court should grant rehearing to align its ruling on the scope of NEPA review

and mitigation with Public Citizen.

III.   The Panel’s Remedy of Vacatur Conflicts with Precedent in this Court
       and in Sister Circuits

       This Court typically remands without vacatur where the consequences of

vacatur would be severe, such as shutting down an operational pipeline (like the

Project), even when the agency’s errors are serious. See Healthy Gulf, 107 F.4th at

1047-48; XO Energy Ma, LP v. FERC, 77 F.4th 710, 719 (D.C. Cir. 2023); Vecinos

para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th 1321, 1332 (D.C. Cir.

2021); City of Oberlin v. FERC, 937 F.3d 599, 611 (D.C. Cir. 2019); Sugar Cane

Growers Co-op v. Veneman, 289 F.3d 89, 98 (D.C. Cir. 2002). This Court’s

precedent requires only that it be “plausible that [FERC] will be able to supply the

explanations required” to rehabilitate deficient orders. City of Oberlin, 937 F.3d at

611; see also Sugar Cane Growers, 289 F.3d at 97-98 (“at least possible”); Allied-

Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146, 151 (D.C. Cir. 1993)

(“conceivable”).

       This Court’s sister Circuits are in accord. See, e.g., Prometheus Radio Project

v. FCC, 824 F.3d 33, 52 (3d Cir. 2016) (vacatur is typically inappropriate where it

is “conceivable” that agency can create supportable rule); Nat. Res. Def. Council v.

EPA, 808 F.3d 556, 584 (2d Cir. 2015) (similar); Tex. Ass’n of Mfrs. v. Consumer

Prod. Safety Comm’n, 989 F.3d 368, 389 (5th Cir. 2021) (vacatur inappropriate if


                                         14
USCA Case #23-1064       Document #2074528            Filed: 09/13/2024    Page 22 of 63



“there is at least a serious possibility that the agency will be able to substantiate its

decision”); Cal. Cmtys. Against Toxics v. EPA, 688 F.3d 989, 993-94 (9th Cir. 2012)

(remanding without vacatur where vacatur would delay power plant coming online);

W. Watersheds Project v. Haaland, 69 F.4th 689, 722-23 (10th Cir. 2023)

(remanding without vacatur where deficiencies were curable and vacatur would

adversely affect permitholders); Black Warrior Riverkeeper, Inc. v. U.S. Army Corps

of Eng’rs, 781 F.3d 1271, 1290-91 (11th Cir. 2015) (remanding without vacatur

where vacatur could suspend surface mining in Alabama for agency error that could

turn out to be “inconsequential”).

      The Panel departed from this precedent by imposing a much stricter standard,

finding vacatur warranted when the deficiencies in FERC’s Certificate Order are

“potentially consequential” and by failing to consider the full consequences of

vacating an operational Project, which affects not only new shippers, but existing

shippers on the pipeline system. Opinion at 13.

      Vacatur here affects not only the shippers who have signed service agreements

for new transportation capacity, but also will take out of service more than 1,200,000

Dth/d of transportation capacity relied upon by existing shippers on the Transco

system in the Mid-Atlantic and Northeast, just as winter weather approaches, when

demand and usage is historically at its highest. This Court should grant rehearing en




                                           15
USCA Case #23-1064     Document #2074528           Filed: 09/13/2024   Page 23 of 63



banc to maintain uniformity with Circuit precedent and other federal Courts of

Appeals.

                                  CONCLUSION

      For the foregoing reasons, Transco respectfully requests that the Court vacate

the Panel’s judgment and grant panel rehearing or rehearing en banc.



                                         Respectfully submitted,

                                         /s/ Elizabeth U. Witmer

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 (D.C. Circuit Bar No. 55948)            (D.C. Circuit Bar No. 55961)
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     Counsel for Intervenor Transcontinental Gas Pipe Line Company, LLC

Dated: September 13, 2024




                                        16
USCA Case #23-1064   Document #2074528   Filed: 09/13/2024   Page 24 of 63




                     ADDENDUM




                                   1
USCA Case #23-1064             Document #2074528                   Filed: 09/13/2024         Page 25 of 63



                                     TABLE OF CONTENTS
                                                                                                     Page
Certificate of Parties and Amici Curiae ........................................................        1
Corporate Disclosure Statement ...................................................................      3
Opinion (D.C. Cir. July 30, 2024) ................................................................      4




                                                      i
USCA Case #23-1064      Document #2074528           Filed: 09/13/2024    Page 26 of 63



             CERTIFICATE OF PARTIES AND AMICI CURIAE

      Pursuant to Circuit Rule 35(c), Intervenor Transcontinental Gas Pipe Line

Company, LLC states the following:

      The petitioners in these consolidated appeals are New Jersey Conservation

Foundation, New Jersey League of Conservation Voters, Aquashicola Pohopoco

Watershed Association, Delaware Riverkeeper Network, Sierra Club, Food & Water

Watch, Catherine Folio, and Maya van Rossum. The United States Federal Energy

Regulatory Commission is the respondent. The New Jersey Division of Rate Counsel

is an intervenor supporting petitioners. Transcontinental Gas Pipe Line Company,

LLC is an intervenor supporting respondent. The following filed briefs as amicus

curiae supporting petitioners: the Institute for Policy Integrity at New York

University School of Law and the States of New Jersey, Washington, Connecticut,

Maryland, Massachusetts, New York, Oregon, and Vermont. The following filed

briefs as amicus curiae supporting respondent: the American Gas Association and

the Interstate Natural Gas Association of America together with the American

Petroleum Institute.

      This case is a petition for review of agency orders issued by FERC and was

filed directly in this Court. Accordingly, the requirement of Circuit Rule 28(a)(1)(A)

to list the parties, intervenors, and amici that appeared below does not apply.




                                          1
USCA Case #23-1064   Document #2074528        Filed: 09/13/2024   Page 27 of 63



Dated: September 13, 2024                /s/ Elizabeth U. Witmer
                                         Elizabeth U. Witmer
                                         Counsel for Intervenor
                                         Transcontinental Gas Pipe Line
                                         Company, LLC




                                   2
USCA Case #23-1064     Document #2074528          Filed: 09/13/2024   Page 28 of 63



          RULE 26.1 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure and Circuit

Rule 26.1 of the Rules of this Court, Intervenor Transcontinental Gas Pipe Line

Company, LLC makes the following disclosures:

      Transcontinental Gas Pipe Line Company, LLC is a natural gas pipeline

company engaged in the transportation of natural gas in interstate commerce by

means of its natural gas transmission system that extends from Texas, Louisiana and

the offshore Gulf of Mexico area to termini in the New York City metropolitan area.

Its immediate parent company is Williams Partners Operating LLC, which in turn is

wholly owned by The Williams Companies, Inc.



Dated: September 13, 2024                   /s/ Elizabeth U. Witmer
                                            Elizabeth U. Witmer
                                            Counsel for Intervenor
                                            Transcontinental Gas Pipe Line
                                            Company, LLC




                                        3
USCA
USCACase
     Case#23-1064
         #23-1064     Document
                      Document#2074528
                               #2067300            Filed:
                                                   Filed:09/13/2024
                                                          07/30/2024      Page
                                                                          Page29
                                                                               1 of
                                                                                  of33
                                                                                     63




             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued March 15, 2024                 Decided July 30, 2024

                                    No. 23-1064

                 NEW JERSEY CONSERVATION FOUNDATION, ET AL.,
                                PETITIONERS

                                        v.

                    FEDERAL ENERGY REGULATORY COMMISSION,
                                 RESPONDENT

                 NEW JERSEY DIVISION OF RATE COUNSEL, ET AL.,
                                INTERVENORS



                    Consolidated with 23-1074, 23-1077, 23-1129, 23-
                                  1130, 23-1137


                          On Petitions for Review of Orders
                    of the Federal Energy Regulatory Commission


                   Moneen Nasmith argued the cause for petitioners.
               With her on the briefs were Megan C. Gibson, Kacy C.
               Manahan, Marissa Lieberman-Klein, and Ann Jaworski.
               Kathryn M. Schroeder entered an appearance.




                                         4
USCA
USCACase
     Case#23-1064
         #23-1064    Document
                     Document#2074528
                              #2067300                Filed:
                                                      Filed:09/13/2024
                                                             07/30/2024        Page
                                                                               Page30
                                                                                    2 of
                                                                                       of33
                                                                                          63




                                          2
                   Jeffrey A. Schwarz argued the cause for intervenor in
               support of petitioners. With him on the briefs were Scott
               H. Strauss and Anree G. Little.

                    Jennifer Danis and Libby Dimenstein were on the
               brief for amicus curiae the Institute for Policy Integrity at
               New York University School of Law in support of
               petitioners.

                    Matthew J. Platkin, Attorney General, Office of the
               Attorney General for the State of New Jersey, Paul
               Youchak, Deputy Attorney General, Robert W. Ferguson,
               Attorney General, Office of the Attorney General for the
               State of Washington, and Megan Sallomi and Aurora
               Janke, Assistant Attorneys General, were on the brief for
               amici curiae New Jersey, et al. in support of petitioners.

                   Lona T. Perry, Deputy Solicitor, Federal Energy
               Regulatory Commission, argued the cause for respondent.
               With her on the brief were Matthew R. Christiansen,
               General Counsel, and Robert H. Solomon, Solicitor. Scott
               R. Ediger, Attorney Advisor, entered an appearance.

                   Elizabeth U. Witmer argued the cause for intervenor
               Transcontinental Gas Pipe Line Company, LLC in support
               of respondent. With her on the brief was Patrick F.
               Nugent.

                    Michael L. Murray and Matthew J. Agen were on the
               brief for amicus curiae American Gas Association in
               support of respondent.

                   Joan Dreskin, Michael Diamond, and Michael R.
               Pincus were on the brief for amicus curiae the Interstate




                                          5
USCA
USCACase
     Case#23-1064
         #23-1064     Document
                      Document#2074528
                               #2067300              Filed:
                                                     Filed:09/13/2024
                                                            07/30/2024       Page
                                                                             Page31
                                                                                  3 of
                                                                                     of33
                                                                                        63




                                          3
                Natural Gas Association of America and the American
                Petroleum Institute in support of respondent.

                Before: PILLARD, CHILDS, and GARCIA, Circuit Judges.

                Opinion for the Court filed by Circuit Judge CHILDS.

                 CHILDS, Circuit Judge: The Federal Energy Regulatory
            Commission (“FERC” or “the Commission”) issued a
            certificate allowing the Transcontinental Gas Pipe Line
            Company, LLC, (“Transco”) to construct and operate a
            pipeline running through New Jersey, New York, Delaware,
            Maryland, and Pennsylvania. The New Jersey Conservation
            Foundation, New Jersey League of Conservation Voters,
            Aquashicola Pohopoco Watershed Association, Delaware
            Riverkeeper Network, Sierra Club, Food & Water Watch,
            Catherine Folio, and Maya van Rossum (collectively
            “Petitioners”) argue that in approving the pipeline, FERC
            arbitrarily overlooked significant environmental consequences.
            In addition, Petitioners and Intervenor for Petitioners, New
            Jersey Division of Rate Counsel (“Rate Counsel”), contend that
            FERC failed to adequately consider evidence suggesting a lack
            of market need for the pipeline’s additional capacity and New
            Jersey state laws mandating reductions in natural gas
            consumption. We agree, so grant the petitions, vacate FERC’s
            orders, and remand the case to the Commission for appropriate
            action. See Allina Health Servs. v. Sebelius, 746 F.3d 1102,
            1110 (D.C. Cir. 2014).




                                          6
USCA
USCACase
     Case#23-1064
         #23-1064     Document
                      Document#2074528
                               #2067300                Filed:
                                                       Filed:09/13/2024
                                                              07/30/2024        Page
                                                                                Page32
                                                                                     4 of
                                                                                        of33
                                                                                           63




                                           4
                                    I. Background
                A. Federal Statutory and Regulatory Background

                               1. The Natural Gas Act

                 The Natural Gas Act (“NGA”) provides FERC with the
            authority “to regulate the transportation and sale of natural gas
            in interstate commerce.” City of Oberlin v. FERC, 937 F.3d
            599, 602 (D.C. Cir. 2019). The NGA was enacted with the
            primary purpose of “encourag[ing] the orderly development of
            plentiful supplies of . . . natural gas at reasonable prices,”
            NAACP v. Fed. Power Comm’n, 425 U.S. 662, 669–70 (1976),
            and “protect[ing] consumers against exploitation at the hands
            of natural gas companies.” Fed. Power Comm’n v. Hope Nat.
            Gas Co., 320 U.S. 591, 610 (1944). Under Section 7 of the
            NGA, an entity seeking to construct or extend an interstate
            pipeline must obtain a certificate of public convenience and
            necessity (“Certificate”) from FERC. 15 U.S.C. § 717f(c).

                  FERC lays out the steps for approving applications in its
            Certificate Policy Statement. See Certification of New
            Interstate Natural Gas Pipeline Facilities, 88 FERC ¶ 61,227
            (Sept. 15, 1999), clarified, 90 FERC ¶ 61,128 (Feb. 9, 2000),
            further clarified, 92 FERC ¶ 61,094 (July 28, 2000). At the
            first step, FERC considers “whether the project can proceed
            without subsidies from [the applicant’s] existing customers.”
            88 FERC ¶ 61,745. “To ensure that a project will not be
            subsidized by existing customers, the applicant must show that
            there is market need for the project.” Myersville Citizens for a
            Rural Cmty., Inc. v. FERC, 783 F.3d 1301, 1309 (D.C. Cir.
            2015) (emphasis added). Relevant factors for determining
            market need may include, but are not limited to, “precedent
            agreements, demand projections, potential cost savings to
            consumers, or a comparison of projected demand with the




                                           7
USCA
USCACase
     Case#23-1064
         #23-1064     Document
                      Document#2074528
                               #2067300               Filed:
                                                      Filed:09/13/2024
                                                             07/30/2024        Page
                                                                               Page33
                                                                                    5 of
                                                                                       of33
                                                                                          63




                                           5
            amount of capacity currently serving the market.” 88 FERC
            ¶ 61,747.

                 If FERC finds a market need, it moves on to the second
            step, where it must determine whether adverse impacts are
            outweighed by public benefits. FERC must “evaluate all
            factors bearing on the public interest.” Atl. Refin. Co. v. Pub.
            Serv. Comm’n of N.Y., 360 U.S. 378, 391 (1959). The adverse
            impacts FERC considers include effects on “existing customers
            of the pipeline proposing the project, existing pipelines in the
            market and their captive customers, or landowners and
            communities affected by the route of the new pipeline,” if they
            are likely. Env’t Def. Fund v. FERC, 2 F.4th 953, 961 (D.C.
            Cir. 2021); see 15 U.S.C. § 717f(e). If adverse impacts are
            likely, FERC must determine whether they are outweighed by
            public benefits. Env’t Def. Fund, 2 F.4th at 961. Public
            benefits of a project can include “meeting unserved demand,
            eliminating bottlenecks, access to new supplies, lower costs to
            consumers, providing new interconnects that improve the
            interstate grid, providing competitive alternatives, increasing
            electric reliability, or advancing clean air objectives.” Id. If
            the purported public benefits outweigh the proposed project’s
            adverse impacts, FERC’s obligations under NEPA are
            triggered. 88 FERC ¶ 61,745.

                     2. The National Environmental Policy Act

                 The National Environmental Policy Act (“NEPA”) is a
            procedural statute requiring all agencies to prepare a detailed
            environmental impact statement (“EIS”) on “reasonably
            foreseeable environmental effects” of a proposed “major
            Federal action[] significantly altering the quality of the human
            environment.” 42 U.S.C. § 4332(2)(C); see id. § 4336(b)(1).
            An EIS must address, among other things, the adverse effects
            of the proposal as well as a reasonable range of feasible




                                           8
USCA
USCACase
     Case#23-1064
         #23-1064      Document
                       Document#2074528
                                #2067300                   Filed:
                                                           Filed:09/13/2024
                                                                  07/30/2024          Page
                                                                                      Page34
                                                                                           6 of
                                                                                              of33
                                                                                                 63




                                              6
            alternatives that meet the proposal’s purpose and need. Id.
            § 4332(2)(C); Sierra Club v. FERC, 38 F.4th 220, 226 (D.C.
            Cir. 2022). NEPA demands that agencies “take a hard look at
            the environmental consequences before taking a major action.”
            Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1181
            (D.C. Cir. 2023) (quoting Balt. Gas & Elec. Co. v. Nat. Res.
            Def. Council, Inc., 462 U.S. 87, 97 (1983)). An agency has
            taken a “hard look” at environmental consequences if the EIS
            “contains sufficient discussion of the relevant issues and
            opposing viewpoints, and . . . the agency’s decision is fully
            informed and well-considered.” Nevada v. Dep’t of Energy,
            457 F.3d 78, 93 (D.C. Cir. 2006) (internal quotation marks
            omitted).

                 The objective of an EIS “is to ensure agencies consider the
            environmental impacts of their actions in decision making.” 40
            C.F.R. § 1502.1 (2020). 1 The EIS must “briefly specify the
            underlying purpose and need to which the agency is responding
            in proposing the alternatives including the proposed action.”
            Id. § 1502.13 (2022). Courts may only set aside an agency’s

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                    An “impact[]” is a potential “change[] to the human
            environment from the proposed action or alternatives that [is]
            reasonably foreseeable.” 40 C.F.R. § 1508.1(g) (2022). It is
            “reasonably foreseeable” if the environmental impact is “sufficiently
            likely to occur such that a person of ordinary prudence would take it
            into account in reaching a decision.” Id. § 1508.1(aa). The Center
            for Environmental Quality regulations cited here and elsewhere in
            this opinion have since been amended, but those amendments did not
            take effect until after the Commission entered the challenged orders.
            See National Environmental Policy Act Implementing Regulations
            Revisions Phase 2, 89 Fed. Reg. 35,442 (May 1, 2024) (effective July
            1, 2024). Thus, we cite and apply the regulations in effect at the time
            of the orders. See Ctr. For Biological Diversity, 67 F.4th at 1181
            n.2.




                                              9
USCA
USCACase
     Case#23-1064
         #23-1064     Document
                      Document#2074528
                               #2067300                Filed:
                                                       Filed:09/13/2024
                                                              07/30/2024        Page
                                                                                Page35
                                                                                     7 of
                                                                                        of33
                                                                                           63




                                           7
            action on NEPA grounds if the EIS does not “contain[]
            sufficient discussion of the relevant issues and opposing
            viewpoints and the agency’s decision is [not] fully-informed
            and well-considered.” Gulf Restoration Network v. Haaland,
            47 F.4th 795, 799–800 (D.C. Cir. 2022) (internal quotation
            marks omitted).

                        B. New Jersey’s Regulatory Background

                  The New Jersey Board of Public Utilities (“the Board”) is
            the state entity charged with “general supervision and
            regulation of and jurisdiction and control over all public
            utilities” and protecting New Jersey utility customers from
            “unjust, unreasonable, insufficient or unjustly discriminatory
            or preferential” rates. N.J.S.A. §§ 48:2–13(a), 48:2–21(b)(1).

                 In February 2019, the Board opened an investigation to
            determine if the state had sufficient gas capacity to meet future
            New Jersey customer needs. In re Exploration of Gas Capacity
            and Related Issues, New Jersey Board of Public Utilities
            Docket Nos. GO19070846 & GO20010033, 1 (Jun. 29, 2022)
            (“Board Order”). As part of this investigation, the Board
            commissioned an independent study. The study concluded that
            the state has sufficient gas capacity, and that there was no need
            for any additional capacity for the state’s gas utilities through
            2030. London Econ. Int’l, Final Report: Analysis of Natural
            Gas Capacity to Serve New Jersey Firm Customers (Nov. 5,
            2021) (“New Jersey Agencies Study”). The Board formally
            adopted these findings in its June 2022 final order. The order
            also found support “against the need for additional interstate
            pipeline capacity,” noting that “under most demand scenarios,
            barring a major catastrophic event impacting one or more
            primary paths on a major interstate pipeline, New Jersey is well
            positioned with available interstate [natural gas] supply beyond
            2030.” Board Order at 11.




                                          10
USCA
USCACase
     Case#23-1064
         #23-1064     Document
                      Document#2074528
                               #2067300               Filed:
                                                      Filed:09/13/2024
                                                             07/30/2024        Page
                                                                               Page36
                                                                                    8 of
                                                                                       of33
                                                                                          63




                                           8
                               C. Procedural Background

                 In March 2021, while the New Jersey gas capacity
            proceedings were pending, Transco applied to FERC for a
            Section 7 Certificate to construct and operate the Regional
            Energy Access Expansion Project (“the Project”) to expand
            delivery of gas by 829,400 dekatherms per day. Order Issuing
            Certificate and Approving Abandonment P 1, Transcontinental
            Gas Pipe Line Co., 182 FERC ¶ 61,006 (“Certificate Order”).
            The Project would consist of building approximately 22.3
            miles of 30-inch-diameter lateral gas pipeline and 13.8 miles of
            42-inch-diameter loop pipeline in Pennsylvania; one new gas-
            fired compressor station in New Jersey; modifications to five
            existing compressor stations in Pennsylvania and New Jersey;
            and the modification and addition of other ancillary facilities.
            Certificate Order P 4. 73.5% of the Project’s gas would be
            delivered to locations in New Jersey, with the rest going to New
            York, Delaware, Maryland, and Pennsylvania. Id. P 7–8. In
            support of its proposal, Transco submitted a market study
            (“Transco Study”) seeking to demonstrate market need, and
            seven of the Project’s shippers submitted comments in support.

                  All Petitioners successfully intervened in the proceedings
            before FERC. Intervenor Rate Counsel contested the gas
            utilities’ assertions, based on the New Jersey Agencies Study,
            that the Project was needed to serve New Jersey rate payers.
            For their part, Petitioner New Jersey Conservation Foundation
            (“the Foundation”) and Rate Counsel submitted evidence to
            FERC that the Project would impose unnecessary costs on New
            Jersey ratepayers, and that New Jersey’s current gas
            infrastructure is more than able to meet current and future
            demand.

               In March 2022, FERC issued a draft EIS to the parties for
            comments. Petitioners and the Environmental Protection




                                          11
USCA
USCACase
     Case#23-1064
         #23-1064      Document
                       Document#2074528
                                #2067300                Filed:
                                                        Filed:09/13/2024
                                                               07/30/2024         Page
                                                                                  Page37
                                                                                       9 of
                                                                                          of33
                                                                                             63




                                            9
            Agency (“EPA”) commented that the Commission’s
            environmental analysis was not consistent with the Council for
            Environmental Quality’s (“CEQ”) regulations interpreting
            NEPA. However, FERC released its final EIS four months
            later without incorporating Petitioners’ or the EPA’s feedback.
            In January 2023, FERC authorized the Project. The Certificate
            Order conditioned its approval of the Project on (1) Transco’s
            compliance with the various mitigation measures set forth in
            the EIS, and (2) Transco’s completion of construction by
            January 11, 2026. Certificate Order P 86. The Commission
            asserted that the Project satisfied Section 7 of the NGA because
            Transco had precedent agreements, which are “long-term
            contracts in which gas shippers agree to buy the proposed
            pipeline’s transportation services,” Allegheny Def. Project v.
            FERC, 964 F.3d 1, 19 (D.C. Cir. 2020), in place with eight
            shippers for all of the Project’s capacity. FERC concluded that
            the Project’s public benefits outweighed its harm, and in doing
            so, incorporated the findings of its Final EIS into the Certificate
            Order.

                 In March 2023, all Petitioners requested rehearing of
            FERC’s Certificate Order, and some Petitioners also requested
            a stay, arguing that FERC had arbitrarily and capriciously
            found a market need for the Project, inappropriately credited
            evidence proffered by Transco while ignoring contrary
            evidence, relied on a deficient EIS, and performed an
            impermissibly skewed balancing of the Project’s benefits and
            adverse impacts. Rate Counsel joined in the Foundation’s
            Request for Rehearing and Motion for Stay. The Board and
            Rate Counsel further filed a Motion for Clarification requesting
            that FERC acknowledge and adopt the New Jersey agencies’
            findings that existing pipeline capacity is sufficient to meet
            natural gas demand in New Jersey, and for FERC to recognize
            that prudency determinations are left to state jurisdiction.




                                           12
USCA Case #23-1064     Document #2074528
                                #2067300                Filed: 09/13/2024
                                                               07/30/2024        Page 38
                                                                                      10 of 63
                                                                                            33




                                            10
             FERC denied the requests for rehearing and memorialized its
             reasons in the Rehearing Order.

                  In the Rehearing Order, FERC confirmed its finding of
             market need. At the same time, FERC noted that its findings
             do not preclude the New Jersey agencies’ use of their study to
             support their own findings in matters related to their
             jurisdiction. Rehearing Order (“Reh’g Order”) P 24. FERC
             also denied the motions to stay and the pending motion for an
             evidentiary hearing. A week later, FERC authorized all
             construction activities related to the Project. On April 3, 2023,
             a special panel on this Circuit denied the Foundation’s motion
             for a stay pending review. Timely petitions for review were
             filed on May 12 and May 25, 2023.

                                     II. Jurisdiction

                  This Court has jurisdiction over the petitions for review
             under the NGA, which vests this Court with jurisdiction to
             review an objection to FERC’s orders when “such
             objection . . . [has] been urged before the Commission in the
             application for rehearing.” 15 U.S.C. § 717r(b). Petitioners
             present the same arguments on appeal as they set forth in their
             rehearing request. See J.A. 623–43; J.A. 704–09; J.A. 678–84;
             J.A. 779–80.

                  We are also assured that Petitioners have met their burden
             of establishing Article III standing. To establish organizational
             standing to sue on their members’ behalf, Petitioners must
             show that “(1) at least one of [their] members would have
             standing to sue in his or her own right; (2) the interests [they]
             seek[] to protect are germane to the organization’s purpose; and
             (3) neither the claim asserted nor the relief requested requires
             the participation of individual members in the lawsuit.” Sierra
             Club v. FERC, 827 F.3d 59, 65 (D.C. Cir. 2016) (internal




                                           13
USCA Case #23-1064     Document #2074528
                                #2067300               Filed: 09/13/2024
                                                              07/30/2024        Page 39
                                                                                     11 of 63
                                                                                           33




                                           11
             quotation marks and citations omitted). Here, the record shows
             that members of at least one of the organizational Petitioners
             live in the affected area, and that their use and enjoyment of
             their homes will continue to be harmed by the pipeline. See id.
             at 85–89; id. at 102–10.

                 We turn to the merits with the threshold jurisdictional
             questions being settled.

                                III. Standard of Review

                  This Court reviews FERC’s NGA decisions and NEPA
             analyses under the Administrative Procedure Act (“APA”).
             Env’t Def. Fund, 2 F.4th at 967–68. We will uphold FERC’s
             decision against an arbitrary and capricious challenge if it was
             “reasoned, principled, and based upon the record.” Myersville,
             783 F.3d at 1308 (quoting Am. Gas. Ass’n v. FERC, 593 F.3d
             14, 19 (D.C. Cir. 2010)). FERC must fully spell out the basis
             for its decision. Id. In doing so, it must articulate a rational
             connection between its factual findings and its decision. FERC
             v. Elec. Power Supply Ass’n, 577 U.S. 260, 292 (2016). We
             accept FERC’s factual findings as conclusive if they are
             “supported by substantial evidence.” 15 U.S.C. § 717r(b).

                  Under NEPA, this Court’s role is “simply to ensure that
             the agency has adequately considered and disclosed the
             environmental impact of its actions and that its decision is not
             arbitrary or capricious.” Baltimore Gas & Elec. Co. v. NRDC,
             462 U.S. 87, 97–98 (1983). We review an EIS’s selection of
             alternatives and statement of purpose under the “rule of
             reason,” Theodore Roosevelt Conservation P’ship v. Salazar,
             661 F.3d 66, 73 (D.C. Cir. 2011), meaning that FERC must
             “take a hard look at the environmental consequences before
             taking a major action.” Balt. Gas & Elec. Co., 462 U.S. at 97
             (internal quotation marks omitted). An agency has taken a




                                           14
USCA Case #23-1064     Document #2074528
                                #2067300                Filed: 09/13/2024
                                                               07/30/2024        Page 40
                                                                                      12 of 63
                                                                                            33




                                            12
             “hard look” at environmental consequences if the EIS
             “contains sufficient discussion of the relevant issues and
             opposing viewpoints, and . . . the agency’s decision is fully
             informed and well-considered.” Nevada, 457 F.3d at 93 (D.C.
             Cir. 2006).

                            IV. Petitioners’ NEPA Claims

                  We hold that the Commission failed to adequately explain
             its decision to not make a significance determination regarding
             greenhouse gas (“GHG”) emissions and failed to discuss
             possible mitigation measures. However, we reject Petitioners’
             claims that the Commission erred in failing to calculate both
             upstream emissions from added gas extraction as well as
             downstream emissions stemming from ozone or ozone
             precursors, and that the Commission’s definition of the
             Project’s purpose and need was flawed.

                            A. Significance Determinations

                  The Commission’s decision not to make a case-specific
             determination about the significance of the Project’s
             anticipated GHG emissions, in light of its own stated precedent
             that it can do so, nor to explain why it believed it could not do
             so, was arbitrary and capricious.

                  In Northern Natural Gas Co., the Commission
             acknowledged its own earlier position that it had been “unable
             to assess the significance of a project’s GHG emissions or those
             emissions’ contribution to climate change,” but announced
             that, “[u]pon reconsideration, we no longer believe that to be
             the case.” N. Nat. Gas Co., 174 FERC ¶ 61,189 P 29 (2021).
             On the heels of Northern Natural, the Commission here reverts
             without acknowledgement or explanation to its prior stance that
             it cannot assess the significance of the Project’s expected GHG




                                           15
USCA Case #23-1064     Document #2074528
                                #2067300               Filed: 09/13/2024
                                                              07/30/2024       Page 41
                                                                                    13 of 63
                                                                                          33




                                           13
             emissions. See Reh’g Order P 104 & n.340 (citing Northern
             Natural and noting Petitioners’ call for a significance
             determination).      The failure to make a significance
             determination or even to acknowledge a change in position is
             unreasonable. See FCC v. Fox Television Stations, Inc., 556
             U.S. 502, 515 (2009) (“An agency may not, for example, depart
             from a prior policy sub silentio or simply disregard rules that
             are still on the books.”).

                  Here, the Commission’s own estimates anticipate that the
             Project will spur enormous GHG emissions and associated
             costs. See EIS at 4-173–4-180. The Commission notes that
             “the construction and operation of the Project would increase
             the atmospheric concentration of GHGs, in combination with
             past, current, and future emissions from all other sources
             globally, and would contribute incrementally to future climate
             change impacts.” EIS at 4-175. Further, based on the national
             levels of CO2e emissions from 2020, the Commission estimates
             that construction and operation could potentially increase
             current and future CO2e emissions. See EIS at 4-176. The EIS
             contextualizes these findings on a state level, concluding that
             the Project’s construction and operation would increase
             downstream emissions in Delaware, Maryland, New Jersey,
             New York, and Pennsylvania by varying percentage levels. Id.

                  Unlike in previous cases, in which the Commission
             refused to even calculate the Social Costs of Carbon, see Ctr.
             for Biological Diversity, 67 F.4th at 1184, the Commission
             made strides to quantify the effects of GHG emissions
             stemming from this Project.          Using this metric, the
             Commission calculated that the Project’s GHG emissions will
             impose social costs of $46 billion. EIS at 4-180. The EIS
             reports that construction of the Project could produce up to
             43,548 metric tons of CO2e, and its operation up to 562,044
             metric tons of CO2e per year. See id. at 4-175. Downstream




                                           16
USCA Case #23-1064     Document #2074528
                                #2067300              Filed: 09/13/2024
                                                             07/30/2024       Page 42
                                                                                   14 of 63
                                                                                         33




                                          14
             combustion of the 829,400 Dth/d of gas would result in 16.02
             million metric tons of CO2e per year. Id. The Project’s “upper
             bound downstream emissions alone would occupy roughly
             39% of the total annual emissions budget across the[] two
             states” it is principally designed to serve—New Jersey and
             Maryland. J.A. 211 (EPA comment).

                  Having reported such figures, the Commission asserted
             that it had met its NEPA obligations and “appropriately
             declined to label the emissions as significant or
             insignificant”—in part because it “is actively conducting a
             generic proceeding to determine whether and how the
             Commission will conduct significance determinations going
             forward.” Reh’g Order P 106 & n.345 (citing Consideration of
             GHG Emissions in Nat. Gas Infrastructure Project Reviews,
             178 FERC ¶ 61,108 (2022), changed to draft status,
             Certification of New Interstate Nat. Gas Facilities, 178 FERC
             ¶ 61,197, at P 2 (2022)); Certificate Order P 73. The
             Commission did not explain, however, how the pendency of
             that generic proceeding affects its ability in the meantime to
             make a case-specific determination here, when it was able to
             do so in Northern Natural. The anticipated emissions from this
             Project are more than a hundredfold higher than the 100,000
             metric tons per year of CO2e that the Commission’s interim
             guidance suggests as a significance threshold. See FERC, Fact
             Sheet, Interim GHG (GHG) Emissions Policy Statement
             (PL21-3-000) (Feb. 17, 2022). Nor did the Commission
             address why it would have been arbitrary to conclude that,
             “[h]owever the Commission’s approach to significance
             analysis evolves, the reasonably foreseeable GHG emissions
             associated with th[e] project” could be categorized as
             significant. N. Nat. Gas Co., 174 FERC ¶ 61,189 P 33.

                FERC turns to this Court’s recent decision in Food &
             Water Watch v. FERC, 104 F.4th 336 (D.C. Cir. 2024), to




                                          17
USCA Case #23-1064     Document #2074528
                                #2067300                 Filed: 09/13/2024
                                                                07/30/2024        Page 43
                                                                                       15 of 63
                                                                                             33




                                            15
             support its arguments on appeal. But that case does not control
             the issue raised before us now. The question in that case was
             whether NEPA or the applicable CEQ regulation requires
             FERC to label GHG emissions as either “significant” or
             “insignificant,” and the Court affirmed FERC’s decision to not
             label downstream GHG emissions as “significant” or
             “insignificant” under NEPA because it disclosed and
             contextualized the emissions. Id. at 346. Here, in the orders
             under review and in the briefing, FERC has not disputed the
             premise that it is generally obligated to make a significance
             determination for each category of emissions. Indeed, it is
             established that, where “significance” has material effects in a
             particular case, most notably as triggering the obligation to
             prepare an EIS, it is “essential” under NEPA that FERC make
             a significance determination notwithstanding the pendency of
             any generic proceeding to set a numeric significance threshold.
             See Food & Water Watch, 104 F.4th at 346 (citing 40 C.F.R.
             § 1508.9(a)(1) (2022)); see also Healthy Gulf v. FERC, No. 23-
             1069, 2024 WL 3418863 at *3 n.2 (D.C. Cir. July 16, 2024),
             (clarifying that Food & Water Watch does not affect a case
             where FERC does “not dispute the premise that it must make a
             significance determination absent a sufficient explanation for
             not doing so in a particular proceeding”). 2

                 Instead, FERC argues that it was unable to do so. See
             Reh’g Order PP 104–07. Yet, as explained above, FERC
             provides no justification for why it cannot determine
             significance here, when it was able to do so in Northern

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                   Although we did not reach the issue in Healthy Gulf, we also
             noted that Food & Water Watch did not address certain FERC
             regulations that Healthy Gulf and others argued independently
             required FERC to make a binary significance determination for GHG
             emissions. See Healthy Gulf, 2024 WL 3418863, at *3 n.2 (citing 18
             C.F.R. §§ 380.7(a),(d)).




                                            18
USCA Case #23-1064      Document #2074528
                                 #2067300                 Filed: 09/13/2024
                                                                 07/30/2024         Page 44
                                                                                         16 of 63
                                                                                               33




                                             16
             Natural. 3 Even if FERC is not required to make a significance
             determination, choosing not to do so on the basis of an arbitrary
             and capricious explanation is nevertheless a violation of the
             APA. Because FERC does not advance the same argument in
             this case as it did in Food & Water Watch, we cannot resolve
             the issue of significance determinations now before us on the
             basis of that case.

                  For these reasons, the Commission violated NEPA by
             failing to assess significance regarding GHG emissions.

                                 B. Mitigation Measures

                  “Implicit in NEPA’s demand that an agency prepare a
             detailed statement on ‘any adverse environmental effects
             which cannot be avoided should the proposal be implemented,’
             is an understanding that the EIS will discuss the extent to which
             adverse effects can be avoided.” Robertson v. Methow Valley
             Citizens Council, 490 U.S. 332, 351–52 (1989) (citing 42
             U.S.C. § 4332(C)(ii)).

                  Here, the Commission relies on the fact that “Transco [did]
             not indicate[] any mitigation for GHG emissions” to sidestep
             its obligation to assess mitigation strategies for the adverse
             environmental effects flowing from its approval of the Project.
             Certificate Order P 74. This is inconsistent with NEPA’s
             regulations, which require an EIS to discuss “[e]nergy

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                   In Northern Natural, FERC also confirmed that “[i]n future
             proceedings, [it] will continue to consider all appropriate evidence
             regarding the significance of a project’s reasonably foreseeable GHG
             emissions and those emissions’ contributions to climate change,” and
             weigh significant GHG effects “along with many other factors when
             determining whether a project is required by the public convenience
             and necessity” under the NGA. N. Nat. Gas Co., 174 FERC ¶ 61,189
             P 36.




                                             19
USCA Case #23-1064     Document #2074528
                                #2067300               Filed: 09/13/2024
                                                              07/30/2024        Page 45
                                                                                     17 of 63
                                                                                           33




                                           17
             requirements and conservation potential of various alternatives
             and mitigation measures,” “[n]atural or depletable resource
             requirements and conservation potential of various alternatives
             and mitigation measures,” and “[m]eans to mitigate adverse
             environmental impacts.” See 40 C.F.R. § 1502.16(a)(6), (7),
             (9) (2020); see also Sierra Club v. FERC, 867 F.3d 1357, 1374
             (D.C. Cir. 2017) (“As we have noted, [GHG] emissions are an
             indirect effect of authorizing [a] project, which FERC could
             reasonably foresee, and which the agency has legal authority to
             mitigate.” (citing 15 U.S.C. § 717f(e)).

                      C. Upstream and Downstream Emissions

                  The Commission contends both that the Project is unlikely
             to spur additional gas production because it is only an
             incremental change to an existing interstate pipeline and,
             alternatively, even if it could spur production, that the
             Commission does not have sufficient information to determine
             the origin of transported gas to make an estimate of upstream
             emissions. See Reh’g Order P 97; id. P 100; id. P 94 & n.298.
             While the Commission’s argument that the new pipeline will
             not spur additional production is questionable, our skepticism
             is not enough for Petitioners to prevail on this claim. Here, as
             in Birckhead v. FERC, 925 F.3d 510, 517 (D.C. Cir. 2019),
             Petitioners have not identified any record evidence that would
             help the Commission tie any new production of gas to demand
             created by this Project. Nor do they claim that “the
             Commission’s failure to seek out additional information
             constitutes a violation of its obligations under NEPA.” Id. at
             518.

                 Petitioners also do not prevail on their challenge to the
             Commission’s failure to calculate downstream emission levels
             of ozone or ozone precursors stemming from the Project. The
             Commission contends that it lacks the necessary information




                                           20
USCA Case #23-1064     Document #2074528
                                #2067300                Filed: 09/13/2024
                                                               07/30/2024        Page 46
                                                                                      18 of 63
                                                                                            33




                                            18
             about end uses to estimate either the production of ozone
             precursors, or the complex estimation of how those precursors
             would react in the atmosphere to generate ozone. Reh’g Order
             at P 119. Here, too, Petitioners “make[] no claim that the
             Commission should have further developed the record” with
             respect to ozone or its precursors. Food & Water Watch v.
             FERC, 28 F.4th 277, 288 (D.C. Cir. 2022). “The question
             before us is thus whether, given the information available to it,
             the Commission reasonably declined to assess downstream
             consumption effects.”       Id.    Because foreseeability of
             downstream emissions depends in part on information about
             the “destination and end use of the gas in question,” id.
             (quoting Birckhead, 925 F.3d at 519), and because the
             Commission concludes (and Petitioners do not dispute) that
             there is no record evidence about these uses, see Reh’g Order
             P 118; Pet. Reply Br. 46–48 (challenging only the
             Commission’s view on the reliability of predictive models for
             ozone), the Commission did not act arbitrarily in refusing to
             make a finding on this point.

                      D. Definition of Project Purpose and Need

                 In fulfilling its NEPA obligations, an agency may not
             “define the objectives of its action in terms so unreasonably
             narrow that only one alternative from among the
             environmentally benign ones in the agency’s power would
             accomplish the goals of the agency’s action.” Citizens Against
             Burlington, Inc. v. Busey, 938 F.2d 190, 196 (D.C. Cir.
             1991). Such a narrow purpose would turn the EIS into a
             “foreordained formality.” Id. Conversely, the agency may not
             “frame its goals in terms so unreasonably broad that an infinite
             number of alternatives would accomplish those
             goals.” Id. The relevant question before us is whether the
             Commission’s purpose statement is so narrowly defined as to




                                           21
USCA Case #23-1064     Document #2074528
                                #2067300                 Filed: 09/13/2024
                                                                07/30/2024        Page 47
                                                                                       19 of 63
                                                                                             33




                                            19
             foreclose an alternative that Petitioners would prefer or that the
             Commission should reasonably have considered.

                 We conclude that FERC’s definition of the Project did not
             foreclose consideration of the sole alternative Petitioners urge
             here: denial of the Certificate. The EIS describes the Project’s
             purpose of delivering “an incremental 829,400 dekatherms per
             day (Dth/d) of year-round firm transportation capacity from the
             Marcellus Shale production area in northeastern Pennsylvania
             to delivery points in Pennsylvania, New Jersey, and
             Maryland.” EIS at 1-2.

                  To be sure, the Project’s purpose could hardly have been
             more narrowly described. The Commission specified the
             proposed gas pipeline’s capacity down to the dekatherm. But
             Petitioners do not argue that the Project’s narrow definition
             foreclosed FERC’s consideration of the no-action alternative;
             their objection, rather, is that FERC acted arbitrarily and
             contrary to law by failing to embrace that alternative. Where,
             as here, the way a gas pipeline project is defined neither affects
             Petitioners’ opposition to it nor bears on their support for the
             no-action alternative, that narrow definition is not a material
             flaw.

                  Petitioners now argue that FERC should have considered
             non-gas alternatives. See Pet. Br. 71–72; Rate Counsel Br. 30–
             31. They assert the Commission’s purpose should have been
             “[e]nsur[ing] reliable energy provision to this particular part of
             the country.” See Oral Arg. Tr. 86:10–13. However,
             Petitioners failed to specify to the Commission any non-gas
             alternative it should have considered, apart from denial of the
             certificate. See Reh’g Order PP 82, 85; Oral Arg. Tr. 87:23–
             88:14 (failing to identify non-gas alternatives or modifications
             to the Project). See also Vt. Yankee Nuclear Power Corp. v.
             NRDC, 435 U.S. 519, 551 (1978) (An agency need not consider




                                            22
USCA Case #23-1064     Document #2074528
                                #2067300               Filed: 09/13/2024
                                                              07/30/2024       Page 48
                                                                                    20 of 63
                                                                                          33




                                           20
             “every alternative device and thought conceivable by the mind
             of man”). As Petitioners have not suggested any non-gas
             alternatives (other than no-action), we express no view on the
             scope of FERC’s authority or obligation to consider them. See
             generally City of Alexandria v. Slater, 198 F.3d 862 (D.C. Cir.
             1999); Nat. Res. Def. Council v. Morton, 458 F.2d 827 (D.C.
             Cir. 1972), see also NEPA Implementing Regulations, 87 Fed.
             Reg. 23,453, 23,459 (April 20, 2022).

                  Inasmuch as Petitioners dispute the underlying need for
             the Project, their challenge to the Commission’s determination
             of market need is addressed under the NGA. Acknowledging
             comments “questioning the need for gas in the delivery area
             and that other proposed projects might be capable of delivering
             gas to the same general area,” the EIS explained that whether
             the Project is needed “will be assessed by the Commission in
             its Orders” rather than in the NEPA analysis. See section V.A
             infra; see also EIS at 1–2.

                       V. Petitioners’ Natural Gas Act Claims

                  Pursuant to Section 7 of the NGA, Transco needed to
             obtain a Certificate from FERC to move forward with the
             Project. To issue a Certificate, FERC must first “ensure that a
             project will not be subsidized by existing customers” by
             finding a “market need for the project.” Myersville, 783 F.3d
             at 1309. If FERC finds a market need, it must then balance any
             potential adverse impacts of the project against its purported
             public benefits. Env’t Def. Fund, 2 F.4th at 961. See generally
             section I.A.1 supra; 92 FERC ¶ 61,094 (2000).

                                   A. Market Need

                 We hold that FERC acted arbitrarily in granting the
             Certificate Order because it did not respond to some of the




                                           23
USCA Case #23-1064     Document #2074528
                                #2067300                 Filed: 09/13/2024
                                                                07/30/2024        Page 49
                                                                                       21 of 63
                                                                                             33




                                            21
             material challenges to its finding of market need for the Project.
             FERC failed to (1) explain why it entirely discredited the
             findings of two market studies showing that current capacity is
             sufficient to meet the New Jersey ratepayers’ natural gas
             demands beyond 2030; (2) explain how precedent agreements
             with local gas distribution companies (“LDCs”) provide
             assurance of market need if those same companies can pass on
             fixed pipeline construction costs to existing captive ratepayers
             while profitably selling any excess capacity to others, perhaps
             even at below-market prices; and (3) give weight to New Jersey
             state-law requirements of sizeable and continuous reductions
             to natural gas usage by public utilities, and instead described
             those requirements as unenforceable.

                                   1. Market Studies

                  The Commission arbitrarily discredited the New Jersey
             Agencies Study on the critical issue of whether ratepayers’ gas
             demand can be met with existing gas supply over the coming
             years, as it has been for decades, by contracts for off-system
             peaking resources. 4 While we generally afford great deference
             to Commission determinations about the market it regulates
             based on its technical expertise and experience, Minisink, 762
             F.3d at 111, in the orders under review, FERC stopped short of
             making or supporting any prediction that off-peaking supplies
             are in fact likely to become scarcer in the future or suffer new
             uncertainty or increased variability. It gestured at “the
             potential for extreme weather events” as jeopardizing New
             Jersey LDCs’ access to off-system supply sources, Reh’g
             Order P 65, but provided no source for its climatological
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                     Off-system peaking resources are third party supplies of
             natural gas purchased under short-term contracts and used by LDCs
             to supplement their own storage and pipeline transportation
             entitlements. See Certificate Order P 29.




                                            24
USCA Case #23-1064      Document #2074528
                                 #2067300                  Filed: 09/13/2024
                                                                  07/30/2024         Page 50
                                                                                          22 of 63
                                                                                                33




                                              22
             hypothesis. FERC failed to clarify why the current supply of
             off-system peaking sources is insufficient to meet the potential
             demand created by extreme weather events and to provide a
             basis for its claim that the potential for extreme weather creates
             uncertainty in the availability of these resources to New Jersey
             LDCs.

                  In evaluating the competing market studies before it, the
             Commission faulted the New Jersey Agencies Study in part for
             relying on the continuing availability of 619 MDth/d of off-
             system delivered gas peaking resources. See Reh’g Order P 38.
             In the Commission’s view, the continued availability of those
             resources “is uncertain because it is not contracted for on a
             long-term firm basis” 5 but under “relatively short-term
             [contracts] . . . dependent on pipeline capacity being available
             year-to-year.” Id. The Commission did not, however, identify
             any past event in which such resources—despite being subject
             to short-term contracts—were unavailable when needed. In
             fact, the Commission recognized that “downstream capacity
             has been available to New Jersey shippers in the past through
             short-term peaking contracts and may be available in the future
             on the same short-term basis.” Id. P 40. The Commission
             concluded that the Transco Study is more consistent with LDC
             supply planning practices, even though it conceded that the
             Study is limited in that it discounts current short-term
             contracts’ ability to meet downstream capacity. See id. P 41.
             Notwithstanding that acknowledgement, FERC still concluded
             that the continued availability of off-system supply resources
             was uncertain. Even as the Commission admitted that the
             Transco Study might, in contrast, be overly conservative in its

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                    Under a firm service contract, service is expected without
             interruption under almost all operating conditions. Firm customers
             pay a monthly reservation charge regardless of whether they use their
             capacity.




                                             25
USCA Case #23-1064     Document #2074528
                                #2067300                 Filed: 09/13/2024
                                                                07/30/2024        Page 51
                                                                                       23 of 63
                                                                                             33




                                            23
             off-system peaking projections, id. P 40, it treated the latter
             study as more authoritative, id. P 41. To support its conclusion,
             FERC pointed to one New Jersey gas utility’s unsubstantiated
             suggestion that its contracts for off-system peaking resources
             would decline from 230.7 MDth/d in 2020 and 2021 to zero
             from 2022 forward—figures FERC treated as an indicator that
             those resources would somehow suddenly become unavailable,
             id. PP 64–65. FERC did not acknowledge the New Jersey
             Study’s explanation that the utility’s reported “decline” reflects
             the reality “of the short-term nature of the contracts, which
             need to be renewed or replaced annually,” so may count as zero
             only until they are renewed or replaced, nor did the
             Commission account for the Study’s contrastingly steady
             projected reliance on off-system peaking resources. See New
             Jersey Agencies Study at 98–99.

                  Similarly, the Commission discounted the Skipping Stone
             Study because the study assumed that firm capacity held by
             downstream customers would nevertheless be available to New
             Jersey LDCs. Reh’g Order P 45. The Commission found that
             “this assumption ignores the fact that if the downstream firm
             capacity customers exercise their rights to the capacity during
             a time of high demand in New Jersey, the capacity will not be
             available for use by the New Jersey LDCs.” Id. While under
             some circumstances this might be a legitimate concern, the
             record is devoid of evidence of any shortages for this reason in
             the decades that New Jersey LDCs have relied on such
             capacity, and the Commission provided no practical
             explanation for why it believed the unprecedented scenario it
             described appropriately guided its discretion.

                 Petitioners also contend that FERC’s stated concerns about
             potential interruptible demand from gas-fired electricity
             generators were not a material basis for its finding of market
             need. FERC explained in its Rehearing Order that the




                                            26
USCA Case #23-1064       Document #2074528
                                  #2067300                   Filed: 09/13/2024
                                                                    07/30/2024           Page 52
                                                                                              24 of 63
                                                                                                    33




                                                24
             pipeline’s ability to help meet interruptible demand 6 from
             sources like gas-fired electricity generators is an added benefit
             of the Project, but that the Commission did not rely on it as
             evidence of market need.             See Reh’g Order P 63
             (acknowledging that design day 7 planning appropriately
             focuses on firm demand, but that the Commission may consider
             service to interruptible loads in assessing a project’s benefits);
             see also Oral Arg. Tr. 38:20–39:8 (counsel for FERC clarifying
             that the Rehearing Order treated interruptible demand as a
             separate benefit of the Project rather than evidence of market
             need).

                                      2. Precedent Agreements

                  Precedent agreements are “always . . . important evidence
             of demand for a project.” See Minisink, 762 F.3d at 111 n.10
             (internal citations omitted). However, the mere existence of
             precedent agreements does not allow FERC to disregard
             contradictory evidence showing a lack of market need for a
             project. FERC must consider such contradictory evidence.
             Env’t Def. Fund, 2 F.4th at 972. Here, because the Commission

                  6
                    Interruptible or non-firm customers pay lower rates, receive
             gas only if transportation capacity is available, and are subject to
             curtailment or interruption if the capacity is needed to serve firm
             customers. While the gas system is designed to meet peak firm
             demand, interruptible customers help to balance supply and demand
             during peak times.
                  7
                     “Design day” “reflects the highest gas demand a [gas utility]
             expects to be obligated to serve on an extremely cold winter day.”
             Certificate Order P 21 n.41. The method of calculating design day
             is at the discretion of each gas utility, but generally each utility uses
             data from historical “peak” demand days during a given winter
             season and adjusts those values in various ways to estimate projected
             future demand growth. Id.




                                               27
USCA Case #23-1064      Document #2074528
                                 #2067300                    Filed: 09/13/2024
                                                                    07/30/2024          Page 53
                                                                                             25 of 63
                                                                                                   33




                                               25
             failed to respond to Petitioners’ challenges to its reliance on
             precedent agreements with LDCs who subscribed to a majority
             of the pipeline’s capacity, we hold that it acted arbitrarily.

                  In approving pipeline construction, the Commission must
             find that the proposed new pipeline “is or will be required by
             the present or future public convenience and necessity.” 15
             U.S.C. § 717(e). The Commission found market need for the
             Project based largely on precedent agreements with LDCs in
             New Jersey. Reh’g Order PP 33–34. Petitioners contend that
             New Jersey LDCs’ contracts for the pipeline capacity fail to
             assure that the Project will not contravene FERC’s policy
             against “subsidization from its existing customers” for the
             benefit of the utilities’ own shareholders. 88 FERC ¶ 61,746.
             See Pet. Br. 63–67; Rate Counsel Br. 27–29. As Rate Counsel
             explains, LDCs’ ability to pass on pipeline firm transportation
             charges to their customers can create perverse incentives, and
             therefore their precedent agreements may not reflect genuine
             market need. 8

                  The Commission fails to provide a non-arbitrary response,
             asserting only that if “there is ample supply of transportation
             capacity in New Jersey making the [pipeline] project
             redundant, then there would be no market for [an LDC] to
             ‘offload’ its capacity to, let alone above market prices.” Reh’g
             Order P 65. That logic ignores the concern that an LDC’s
             captive ratepayers might pay for added pipeline capacity the
             LDC does not use to serve those customers. If ratepayers

                  8
                     Rate Counsel Reply Br. 18 (“[Local gas distribution
             companies] might buy unneeded capacity either to resell it for a
             profit or to hold as extra reliability insurance . . . If the [local gas
             distribution companies] expected to be able to pass through the costs,
             deeming the disallowance risk to be low, they would have had little
             incentive” to scrutinize their actual capacity needs.).




                                               28
USCA Case #23-1064      Document #2074528
                                 #2067300                Filed: 09/13/2024
                                                                07/30/2024         Page 54
                                                                                        26 of 63
                                                                                              33




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             assume the cost even when they do not need the capacity, LDCs
             can afford to contract for additional unneeded capacity, which
             they can then resell at a profit, even in a soft capacity market.
             Because the Commission failed to respond to that challenge to
             its reliance on precedent agreements with LDCs who
             subscribed to a majority of the pipeline’s capacity, the
             Commission acted arbitrarily. 9

                                       3. New Jersey Law

                  The Commission, on rehearing, acknowledged New
             Jersey’s statutory requirements for annual reductions in natural
             gas use but failed to substantiate its claim that “there are as yet
             no mandated mechanisms to implement these goals.” See
             Reh’g Order P 26. FERC also arbitrarily misconstrued New
             Jersey’s energy efficiency laws—which mandate sizeable and
             continuous reductions to natural gas usage by public utilities—
             as unenforceable. To the contrary, New Jersey law is
             mandatory and includes mechanisms for its enforcement. 10
                 9
                     This Circuit has accepted FERC’s reliance on precedent
             agreements with LDCs to demonstrate market need for new pipelines
             where appropriate. See, e.g., City of Oberlin, 937 F.3d at 605–06;
             Myersville, 783 F.3d at 1311. But the challenge raised here was not
             made in those cases. Here, Petitioners and Rate Counsel question
             whether precedent agreements with LDCs serving captive ratepayers
             are probative of market need for new capacity, and the Commission
             fails to adequately dispel that concern.
                 10
                       FERC also analogizes New Jersey law to the New York
             statute in Food & Water Watch, which set GHG emission-reduction
             goals without specifying how to meet them or necessarily mandating
             reductions in natural gas use, see 104 F.4th at 347–48. But New
             Jersey law requires specific annual natural gas-use reductions.
             N.J.S.A. § 48:3–87.9(A). In the context of evaluating market need
             for greater natural gas capacity, FERC needed to properly consider
             the effects of the New Jersey statute.




                                            29
USCA Case #23-1064      Document #2074528
                                 #2067300                Filed: 09/13/2024
                                                                07/30/2024         Page 55
                                                                                        27 of 63
                                                                                              33




                                             27

                   The state statutes and the Board Order implementing them
             both use mandatory language. See New Jersey Board of Public
             Utilities, Order Directing the Utilities to Establish Energy
             Efficiency and Peak Demand Reduction Programs at 2 (June
             10, 2020) (noting that the Board is directed to require 0.75%
             reductions). The New Jersey Clean Energy Act of 2018
             provides that, “[e]ach natural gas public utility shall be required
             to achieve annual reductions in the use of natural gas of 0.75
             percent of the average annual usage in the prior three years
             within five years of implementation of its gas energy efficiency
             program.” N.J.S.A. § 48:3–87.9(a). As to the state’s energy
             efficiency program, the statute provides: “[e]ach electric public
             utility and gas public utility shall establish energy efficiency
             programs and peak demand reduction programs to be approved
             by the [B]oard no later than 30 days prior to the start of the
             energy year in order to comply with the requirements of this
             section.” Id. § 48:3–87.9(d)(1).

                  FERC acknowledges that it neither had the authority nor
             the intention to “constrain the state’s review of the prudency of
             purchases by New Jersey LDCs.” Reh’g Order P 28.
             However, FERC’s treatment of New Jersey law as merely
             suggestive was erroneous, and that mistake led it to arbitrarily
             discount the effect of the state’s energy laws in assessing
             market demand for the Project. Reh’g Order P 70; see also id.
             PP 40–41 (noting that the Transco Study fails to consider the
             impact of New Jersey’s energy efficiency laws on demand
             forecasts but nevertheless concluding that it more reliably
             reflects future demand).

                B. Balancing of Public Benefits and Adverse Impacts

                 Under Section 7, the Commission may “issue a certificate
             of public convenience and necessity only if a project’s public




                                            30
USCA Case #23-1064     Document #2074528
                                #2067300                Filed: 09/13/2024
                                                               07/30/2024        Page 56
                                                                                      28 of 63
                                                                                            33




                                            28
             benefits (such as meeting unserved market demand) outweigh
             its adverse effects (such as deleterious environmental impact
             on the surrounding community).” City of Oberlin, 937 F.3d at
             602.     Here, because the Commission’s public interest
             determination relied in part on a deficient market-need
             assessment, the determination itself is necessarily arbitrary and
             capricious. See Vecinos para el Bienestar de la Comunidad
             Costerea v. FERC, 6 F.4th 1321, 1331 (D.C. Cir. 2021)
             (“Where the Commission rests a decision, at least in part, on an
             infirm ground, we will find that decision arbitrary and
             capricious.”).

                  Moreover, Petitioners argue that “the Project’s climate
             impacts render [FERC’s] conclusion in the Certificate Order
             that the Project is ‘environmentally acceptable’ arbitrary,
             capricious, and contrary to the [NGA],” Pet. Br. 97, and Rate
             Counsel contends that, even if there were a clear market need
             for the Project, the Order is arbitrary and capricious because it
             overlooked important harms in its balancing—most
             prominently the harms from increased GHG emissions.
             Meanwhile, FERC and Transco insist that GHGs and climate
             impacts were included in the balancing. FERC asserts that it
             adequately weighed the potential environmental harms of the
             Project just by disclosing the Project’s reasonably foreseeable
             GHG emissions. See Reh’g Order P 106. It calculated
             anticipated GHG emissions, listed harms expected due to
             climate change generally, and identified climate policy goals at
             international, national, and state levels—then seemingly swept
             the issue under the rug in its balancing, stopping short of
             explaining how anticipated GHG emissions factored in
             weighing the potential adverse impact against the potential
             benefit of the Project.

                 FERC’s failure to conduct any meaningful balancing falls
             short of what is required by the NGA and this Court’s




                                           31
USCA Case #23-1064      Document #2074528
                                 #2067300                  Filed: 09/13/2024
                                                                  07/30/2024          Page 57
                                                                                           29 of 63
                                                                                                 33




                                              29
             precedent. “[A] passing reference to relevant factors . . . is not
             sufficient to satisfy the Commission’s obligation to carry out
             ‘reasoned’ and ‘principled’ decisionmaking.” Am. Gas. Ass’n,
             593 F.3d at 19; see also TransCanada Power Mktg. Ltd. v.
             FERC, 811 F.3d 1, 12 (D.C. Cir. 2015) (“It is well established
             that the Commission must respond meaningfully to the
             arguments raised before it.” (internal quotation marks
             omitted)). In Environmental Defense Fund, we held that
             simply pointing to evidence in the record was insufficient
             balancing, but rather that FERC must show its reasoning such
             that we can conclude that they have sufficiently evaluated the
             record evidence. 2 F.4th at 966, 975. Here, as in
             Environmental Defense Fund, FERC made a conclusory
             decision that the benefits will outweigh potential adverse
             impacts without conducting the needed analysis.

                  The Project is a substantial gas pipeline expected to
             transport large quantities of natural gas from points of
             extraction to points of use for decades to come. See EIS at 4–
             1. The record estimates enormous GHG emissions from the
             Project for the next half century. FERC disclosed the estimated
             emissions and its Social Cost of Carbon analysis. 11 But it then
             walked away from the relevant issues with a fatalistic shrug,
             asserting that “it is unable to determine how individual projects
             will affect international, national, or statewide GHG emissions
             reduction targets or whether a project’s GHG emissions
             comply with those goals.” Id. at 4–178.

                 Simply put, in its Certificate Order, the Commission
             discusses climate change and GHG emissions, including its

                  11
                    We examine FERC’s acknowledgment of the Project’s GHG
             emissions and its Social Cost of Carbon analysis in our discussion
             regarding the failure to make significance determinations, see section
             IV.A supra.




                                              32
USCA Case #23-1064     Document #2074528
                                #2067300               Filed: 09/13/2024
                                                              07/30/2024        Page 58
                                                                                     30 of 63
                                                                                           33




                                           30
             projections for those emissions. See Certificate Order PP 67–
             74. But the Certificate Order nowhere explains whether and
             how the Commission considered those emissions among the
             adverse effects it balanced and found to be outweighed by the
             pipeline’s expected benefits. Instead, the Order’s conclusions
             merely refer back to its equivocal EIS, stating that it agrees
             with the “conclusions presented in the final EIS and find that
             the project, if implemented as described in the final EIS, is an
             environmentally acceptable action.” Id. P 81. On rehearing,
             FERC “simply asserted that ‘the Commission balanced the
             concerns of all interested parties,’” Rate Counsel Br. 34,
             followed by a summary of various land impacts and mitigation
             measures other than those stemming from GHG emissions and
             climate change. These broad-brush statements do not provide
             assurance that the Commission balanced the climate-related
             emissions to which the Commission refused to assign a
             significance label.

                                      VI. Remedy

                  FERC and Transco ask that the petitions for review be
             denied and that the challenged FERC orders be affirmed. But
             in the event that we determine that Petitioners’ claims have
             merit, Transco asks us to remand to FERC without vacatur. For
             reasons explained below, we hold that vacatur is appropriate
             here.

                  “Vacatur ‘is the normal remedy’ when we are faced with
             unsustainable agency action.” Bhd. of Locomotive Eng’rs &
             Trainmen v. Fed. R.R. Admin., 972 F.3d 83, 117 (D.C. Cir.
             2020) (quoting Allina Health Servs., 746 F.3d at 1110). We
             employ a two-factor test to determine if the challenged agency
             action is unsustainable. Xo Energy Ma v. FERC, 77 F.4th 710,
             719 (D.C. Cir. 2023). We must evaluate (1) “the likelihood
             that ‘deficiencies’ in an order can be redressed on remand” and




                                           33
USCA Case #23-1064     Document #2074528
                                #2067300                 Filed: 09/13/2024
                                                                07/30/2024        Page 59
                                                                                       31 of 63
                                                                                             33




                                            31
             (2) “the ‘disruptive consequences’ of vacatur.” Black Oak
             Energy v. FERC, 725 F.3d 230, 244 (D.C. Cir. 2013) (quoting
             Allied-Signal, Inc. v. Nuclear Regul. Comm’n, 988 F.2d 146,
             150 (D.C. Cir. 1993)).

                   It is far from clear that FERC’s failure here is only one of
             explanation.         Petitioners have identified potentially
             consequential deficiencies in the Certificate Order’s requisite
             considerations of market need and balance of public benefits
             and harms. See Allied-Signal, 988 F.2d at 150. Therefore, at
             this stage we cannot say it is sufficiently likely that FERC “will
             be able to substantiate its decision on remand.” Id. at 151. The
             Certificate Order’s deficiencies go to the core of FERC’s
             finding that the Project complies with Section 7 of the NGA.
             On remand, FERC will have to revisit its underlying market
             need finding to properly consider the New Jersey Agencies
             Study and New Jersey state-law requirements of sizeable and
             continuous reductions to natural gas usage, which may require
             it to assess its ultimate Section 7 balancing. What is more, as
             discussed above, see section IV supra, FERC failed to meet
             certain obligations under NEPA. See Oglala Sioux Tribe v.
             Nuclear Regul. Comm’n, 896 F.3d 520, 536 (D.C. Cir. 2018).

                 We next evaluate whether vacatur will result in “disruptive
             consequences.” Allied-Signal, 988 F.2d at 150. Transco
             argues that vacatur here would present:

                 severe and disruptive consequences because Transco has
                 received authorization from FERC to place certain Project
                 facilities in service and to provide firm transportation
                 service for roughly 54% of the Project’s capacity on an
                 interim basis, and since the interim service is fully
                 subscribed, customers are counting on [the Project] for the
                 2023/2024 heating season.




                                            34
USCA Case #23-1064     Document #2074528
                                #2067300                 Filed: 09/13/2024
                                                                07/30/2024        Page 60
                                                                                       32 of 63
                                                                                             33




                                            32
             Transco Br. 30. While these consequences certainly warrant
             our consideration, they are not dispositive.

                  Where a pervasively deficient agency action is remanded,
             only in rare instances do the disruptive consequences alone
             determine whether the order is vacated. See North Carolina v.
             EPA, 550 F.3d 1176, 1178 (D.C. Cir. 2008). We have
             previously vacated the Commission’s decision to issue a
             certificate of public convenience and necessity even when the
             pipeline was already partially operational. See Env’t Def.
             Fund, 2 F.4th at 976. In fact, this Court’s review of Certificate
             Orders for pipeline projects often occurs at least one year after
             the pipeline’s construction has begun. See, e.g., id. (Certificate
             Order issued August 2019, opinion issued June 2021); Vecinos
             Para el Bienestar de la Comunidad Costera v. FERC, 6 F.4th
             1321, 1326–27 (D.C. Cir. 2021) (Certificate Orders issued
             November 2019, opinion issued August 2021); Food & Water
             Watch, 28 F.4th at 282–83 (Certificate Order issued December
             2019, opinion issued March 2022). Petitioners correctly point
             out that “it is hard to imagine a scenario in which a gas
             company has not engaged in constructive activity or begun
             service by the time a reviewing court concludes that the
             approval was in error.” Pet. Reply Br. 51 (emphasis in the
             original).

                  We have previously recognized that while “there may be
             some disruption as a result of the . . . de-issuance of the
             Certificate, caused by vacatur,” Env’t Def. Fund, 2 F.4th at 976,
             serious deficiencies in the Certificate Order and Rehearing
             Order nevertheless merit vacatur because “‘the second Allied-
             Signal factor is weighty only insofar as the agency may be able
             to rehabilitate its rationale.’” Id. (quoting Comcast Corp. v.
             FCC, 579 F.3d 1, 9 (D.C. Cir. 2009)). Similarly, here, the
             disruption vacatur would cause to the pipeline’s operations is
             significantly outweighed by the core deficiencies in FERC’s




                                            35
USCA Case #23-1064     Document #2074528
                                #2067300              Filed: 09/13/2024
                                                             07/30/2024       Page 61
                                                                                   33 of 63
                                                                                         33




                                          33
             orders. Accordingly, we vacate and remand FERC’s orders
             granting a certificate of public convenience and necessity for
             the Project.

                                        *****

                  For the foregoing reasons, we grant the petitions for
             review, vacate FERC’s orders, and remand to the Commission
             for appropriate action.
                                                              So ordered.




                                          36
USCA Case #23-1064      Document #2074528          Filed: 09/13/2024   Page 62 of 63



                       CERTIFICATE OF COMPLIANCE

      This petition complies with the type-volume limitation of Rule 35(b)(2)(A) of

the Federal Rules of Appellate Procedure because this petition contains 3,547 words,

excluding the parts of the petition exempted by Rule 32(f) of the Federal Rules of

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32(a)(6) of the Federal Rules of Appellate Procedure because this petition has been

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Dated: September 13, 2024                    /s/ Elizabeth U. Witmer
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                                             Company, LLC




                                         1
USCA Case #23-1064       Document #2074528           Filed: 09/13/2024   Page 63 of 63



                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Petition for Rehearing was

electronically filed with the Clerk of the Court using the CM/ECF system, which

will send notification of such filing to all counsel of record.


Dated: September 13, 2024                      /s/ Elizabeth U. Witmer
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                                               Transcontinental Gas Pipe Line
                                               Company, LLC
